           Case 3:20-cv-01784-LCB Document 14 Filed 03/30/21 Page 1 of 2                    FILED
                                                                                   2021 Mar-30 AM 10:38
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA


ANGELA DAVIS                            )
                                        )
               Plaintiff,               )
                                        )
v.                                      )     CASE NO. 3:20-CV-01784-LCB
                                        )
BOOKS-A-MILLION, INC. and               )
UNUM LIFE INSURANCE                     )
COMPANY OF AMERICA,                     )
                                        )
               Defendants.              )

           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      COME NOW the Parties, by and through their undersigned counsel of record,

and hereby stipulate to the dismissal of this action, with prejudice, costs to be taxed

as paid.

      Respectfully submitted this 30th day of March, 2021



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Case 3:20-cv-01784-LCB Document 14 Filed 03/30/21 Page 2 of 2




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